Case 20-11263-amc          Doc 91     Filed 07/13/22 Entered 07/13/22 08:57:04                 Desc Main
                                      Document Page 1 of 2


                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 PHILADELPHIA DIVISION

 In re:                                                          Bankruptcy No. 20-11263-amc
 David A Jerri, Sr.,
         Debtor.                                                 Chapter 13


 Wilmington Savings Fund Society, FSB, d/b/a Christiana
 Trust, not individually but as trustee for Pretium
 Mortgage Acquisition Trust
         Movant.
 v.
 David A Jerri, Sr. and
 KENNETH E. WEST, Trustee.
     Respondents.
                              ORDER VACATING AUTOMATIC STAY

        AND NOW, this               day of          , 2022, upon consideration of Wilmington Savings

Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage

Acquisition Trust’s Motion for Relief from Automatic Stay, pursuant to 11 U.S.C. § 362(d), any

response thereto and that it is not necessary for an effective reorganization, it is hereby

        ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code

are hereby unconditionally terminated with respect to Wilmington Savings Fund Society, FSB, d/b/a

Christiana Trust, not individually but as trustee for Pretium Mortgage Acquisition Trust; and it is further

        ORDERED, that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

individually but as trustee for Pretium Mortgage Acquisition Trust, its successors and/or assignees be

entitled to proceed with appropriate state court remedies against the property located at 400

Louise Avenue, Croydon , PA 19021, including without limitation a sheriff’s sale of the

property, and it is further
Case 20-11263-amc         Doc 91    Filed 07/13/22 Entered 07/13/22 08:57:04             Desc Main
                                    Document Page 2 of 2



       ORDERED that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

individually but as trustee for Pretium Mortgage Acquisition Trust’s request to waive the 14-day stay

period pursuant to Fed.R.Bankr.P. 4001(a)(3) is granted.

                                                              BY THE COURT




                                                              ______________________________
                                                              Hon. Ashely M. Chan
   Dated: July 13, 2022                                       U.S. Bankruptcy Court Judge
